Case 2:03-cr-20099-SH|\/| Document 92 Filed 07/14/05 Page 1 of 2 Page|D 96

 

IN THE UNITED sTATEs DISTRICT cotm'r mm ay
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UNITED sTATEs oF AME:RICA, Q£M UCSM°&§"TF?CTUD
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Plaintiff,
V. CR. NO. 03-20099-Ma

JOHN K. MERRELL,

v`-l`d\-I\\-I`-I`_"_{`_¢

Defendant.

 

ORDER DIRECTING CLERK TO ISSUE WRIT OF HABEAS CORPUS

 

This matter is set for a re-sentencing hearing on
Fri\‘;!a§,:l August 26¢ 2005 at 11:00 a.m. The defendant, John K.
Merrell, #17317-076, is confined as a prisoner at Federal
Correctional Institution, Talladega, Alabama. It is necessary to
have John K. Merrell appear in this court for the hearing.

IT IS THEREFORE ORDERED that the Clerk of Court issue a writ of
habeas corpus ad testificandum to the United States Marshal for the
Western District of Tennessee, and to the Warden, Federal
Correctional Institution, Talladega, Alabama, to have said. John

K. Merrell before this court for the hearing.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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July , 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
case 2:03-CR-20099 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

